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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                                  §      Chapter 11
                                                        §
Shale Support Global Services, LLC et al 1              §      Case No. 19-33884 (DRJ)
                                                        §
             DEBTOR(S)                                  §      (Jointly Administered)

                           NOTICE OF APPOINTMENT OF OFFICIAL
                           COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE DAVID R. JONES
CHIEF UNITED STATES BANKRUPTCY JUDGE:

               COMES NOW the United States Trustee, ("UST") through the undersigned
attorney, pursuant to Sec. 1102(a) and 1102(b)(1) of the Bankruptcy Code and hereby appoints
following eligible creditors to the official committee of unsecured creditors in the above captioned
case:

 Coyote Logistics, LLC                                                Jason Rice
 2545 Diversity Ave., 3rd Floor                                       (773) 365-6731
 Chicago, IL 60647


 Trinity Industries Leasing Company                                   Scott Ewing
 2525 N. Stemmons Freeway                                             (214) 589-6531
 Dallas, Texas 75207


 J. Patrick Lee Construction                                          J. Patrick Lee
 200 Longstreet Ln.                                                   (601) 916-2319
 Picayune, Mississippi 39466


 Retif Oil & Fuel, LLC                                                Ryan Retif
 1840 Jutland Drive                                                   (504) 349-9109
 Harvey, Louisiana 70058

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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Shale Support Global Holdings, LLC (5328); Shale Support Holdings, LLC (7814); Stanton Rail Yard,
LLC (5976); Southton Rail Yard, LLC (8704); Drying Facility Assets Holding, LLC (6424); Shale Energy Support,
LLC (8523); Mine Assets Holding, LLC (4401); and Wet Mine Assets Holding, LLC (2879). The service address
for Debtor Stanton Rail Yard, LLC is 32731 Egypt Lane, Magnolia, Texas 77354. For the remainder of the Debtors,
it is 600 Jefferson Street, Suite 602, Lafayette, Louisiana 70501.
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 Tidewater Logistics Operating, LLC                    Scott Spence
 550 Bailey Avenue, Suite 100                          (817) 412-1292
 Fort Worth, Texas 76102


Dated: July 29, 2019                        HENRY G. HOBBS, JR.
                                            ACTING UNITED STATES TRUSTEE


                                            By: /s/ Stephen D. Statham
                                            Stephen D. Statham
                                            Trial Attorney
                                            Texas Bar No.19082500
                                            Office of the United States Trustee
                                            515 Rusk Avenue, Suite 3516
                                            Houston, TX 77002
                                            (713) 718-4650 Ext 252
                                            (713) 718-4670 Fax



                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Notice of Appointment of
Official Committee of Unsecured Creditors has been served by electronic means on all PACER
participants on this 29th day of July, 2019.

                                          /s/ Stephen D. Statham
                                          Stephen D. Statham
                                          Trial Attorney
